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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  YURY GOKHBERG,

                           Plaintiff,

         v.                                                                  JUDGMENT
                                                                             17-cv-00276 (DLI)(VMS)

  PNC BANK, NATIONAL ASSOCIATION,

                            Defendant.
  ---------------------------------------------------------------X
           A Memorandum and Order of the Honorable Dora L. Irizarry, United States District

  Judge, having been filed on January 6, 2021, granting Defendant’s motion for summary

  judgment in its entirety; it is

         ORDERED and ADJUDGED that Defendant’s motion for summary judgment is granted

 in its entirety.

 Dated: Brooklyn, New York                                            Douglas C. Palmer
        January 7, 2021                                               Clerk of Court

                                                                By:    /s/Jalitza Poveda
                                                                       Deputy Clerk
